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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, 15-CR-704-SJO
Plaintiff, DEFENDANTGHANEM’S
SENTENCING MEMORANDUM
¥V.
RAMI GHANEM,

 

Defendant.

 

Defendant Rami Ghanem hereby files this Sentencing Memorandum asking the
Court to impose a sentence of 135 months in prison.

Dated: April 15,2019 Respectfully Submitted,

 

s/Michael 8. Evans

5 || MICHAEL S. EVANS

H. DEAN STEWARD
Attorney for Defendant
RAMI GHANEM

 

 
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The Applicable Advisory Sentencing Range Is 135-168Months.

This Court first must consider the applicable advisory sentencing range
calculated pursuant to the United States Sentencing Guidelines (“Guidelines”) taking
into account a defendant’s total offense level and criminal history category when
determining the appropriate sentence to impose in this case. See, 18 U.S.C.
§3553(a)(4).  “[T]he Guidelines factor [should not] be given more or less weight
than any other. While the Guidelines are to be respectfully considered, they are one
factor among the§3553(a) factors that need to be taken into account in arriving at an
appropriate sentence.” United States v. Carty, 520 F.3d 984, 991 (9" Cir. 2008).

In his Objections to the Presentence Investigation Report, Ghanem has set forth
his position that the applicable Guideline range is 135-168 months. Ghanem
incorporates herein the arguments from his Objections to the Presentence
Investigation Report into this Memorandum in support of this position,

Kinds Of Sentences Available To The Court

Pursuant to 18 U.S.C. §3553(a)(3), this Court must consider the kinds of
sentences available. This “court, in determining whether to impose a term of
imprisonment, and, if a term of imprisonment is to be imposed, in determining the
length of the term, shall consider the factors set forth in §3553(a) to the extent they
are applicable.” 18 U.S.C. §3582(a).

When making this determination whether to impose a term of imprisonment, it

is important to note that Congress intended that “prison resources, first and foremost,

 
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[would be] reserved for those violent and serious criminal offenders who pose the

most dangerous threat to society,” and “in cases of nonviolent or non-serious

offenders, the interests of society as a whole as well as individual victims of crime
can continue to be served through the imposition of alternative sentences, such as
restitution and community service.” See, Sentencing Reform Act of 1984, Pub. L.
No. 98-473, §§ 217(a), 98 Stat. 1987, 2039 (1984).

The advisory Guideline sentencing range in this case is 135-168 months. A

probationary sentence, house arrest or community confinement are not sentencing

 

options available to this Court.A25 year mandatory sentence is required by statute,

but as set forth in a motion filed by Ghanem previously, would constitute cruel and
unusual punishment and for that reason should not be imposed. This Court also can
recommend that Ghanem enter an alcohol/drug treatment program when he has 30

months remaining to serve on his sentence. Finally, because he will be appealing

 

the conviction in this case and his appellate counsel will be located in Southern
California, this Court can recommend that the Bureau of Prisonsplace Ghanem in a
facility in Southern California.

Nature And Circumstances Of The Offense.

Pursuant to 18 U.S.C. §3553(a)(1), this Court also must consider the nature and
circumstances of the offense and individual characteristics and history of the

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defendant.As to the nature and circumstances of the offense, the crime involved

 

 

 
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hereininvolves allegations that Ghanem purchased, sold, imported, exported, used or
threatened to use surface-to-air missiles. Yet, the evidence at trial showed Ghanem
never sold, purchased, imported or exported any surface-to-air missiles nor did he
enter into any agreements to do so, despite numerous efforts by an undercover agent
to engage him in such activities. At most, Ghanem solicited many persons for the

purchase of surface-to-air missiles which were never consummated.

 

 

The only evidence of a consummated agreement was for Ghanem to provide

| the Libyan government based in Tripoli with two surface-to-air missile operators to
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| work at an airbase in Misrata. Although the two surface-to-air missile operators

flew to and stayed in Misrata for a period of approximately 6-8 weeks, they never
intended to use nor were they able to operate or use a surface-to-air missile while in
Libya.

Both Gia Devidze and ZurabPartsakashvili admitted that neither they nor
anyone used a surface-to-air missile while they were in Libya. Although they were
told they were hired to operate Igla surface-to-air missiles, none of thelgla missiles at
the Misrata air base were functional or repairable. At most, there were four Strela
missiles in total at the air base.

Devidze was not qualified or trained to operate any surface-to-air missiles.

His only military training and experience was as a driver for generals in the Georgian

army. He admitted the only surface-to-air missile “training”he received was for

 

 

 
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a total of five minutes on a simulator ten years prior to arriving in Libya. Devidze
claimed that Partsakashvili trained him while they were together in Libya, but
Partsakashvili denied that he provided any training on surface-to-air missiles to
Devidze. Thus, if he had been called on to fire a surface-to-air missile while he was
in Libya, Devidze would not have been able to do so.

Partsakashvili testified that he had a faulty right eye and could not fire the
Strela missiles that were brought to the air base after his arrival. Although he
claimed to train Libyan soldiers how to use surface-to-air missiles over a two or three
day period, this limited amount of training is insufficient to teach someone to use
these sophisticated weapons. Per the Government’s own expert Dr. Doherty, in
order for someone to be properly trained to use surface to air missiles, they need to

have written manuals, months of classroom teaching, time using a simulator and field

| experience firing these missiles. At trial, there was no evidence of manuals written

jin Arabic given to any Libyan soldiers. None of the Libyan soldiers were in

classrooms for months learning this skill. There was no evidence that Devidze,
Partsakashvili or Sandro Kavsadzebrought simulators when they arrived in Misrata,
nor were there any at the air base when they arrived. Finally, there was no evidence
of test firing any surface-to-air missiles by Libyan soldiers presented at trial.
Devidze’s claims regarding his day to day activities raise doubt whether the

Strela missiles were ever taken out of the packages or boxes after they were shipped

 

 
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to Libya. Devidze testified that he would arrive at the airbase at 7 a.m., move the
missiles to a shaded location under a tree, remain there with Partsakashvili until 7

3 p.m., and afterwards remove the batteries from themissiles and return the missiles to

¢ | the area where they would be stored overnight. Whereas, Partsakashvili denied that

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| this daily ritual ever occurred. Dr. Doherty also testified that batteries are never
7 || removed from the missiles. In addition, if Devidze’s testimony is taken at face
8 || value, this would mean that theLibyan government relied upon a total of four

surface-to-air missiles to protect their air base and intentionally left the airbase
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1) || vulnerable for a twelve hour period without anyone manning the missiles in case of
12 |) air attack from 7 p-m. until 7 a.m. This scenario is not credible, especially when the

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Government in Tripoli was in the midst of a civil war and under threat of attack from
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15 || the rival government located in the eastern part of the country. Furthermore, it

'® || should be pointed out that Devidze was not able to identify correctly a Strela missile

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- when one was shown to him at trial. All of the above further supports

19 || Partsakashvili’s testimony that the Strelaor any surface-to-air missiles were never

20 || intended to be used in the first place.

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The crime of selling, purchasing or using surface to air missiles on the

93 || International market without authorization from the United States Government

potentially poses a serious threat to the safety of the international community. Yet,
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a6 || 2° set forth above, the evidence presented at trial regarding Ghanem’s actions relating
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to the commission of this crime show that he engaged in massive solicitations which
never came to fruition in terms of the purchase of these missiles. The one

agreement he entered into with the Georgian mercenaries to operate the surface to air

|| missiles for the Libyan Government would never have resulted in the use or firing of

these missiles in the first place. The nature and circumstances of this crime warrant
a variance from any mandatory minimum sentence at issue for thiscrime and the
imposition of the low end of the applicable Guideline range or 135 months.

The Individual Characteristics Of The Defendant.

“Surely, if ever a man is to receive credit for the good he has done, and his
immediate misconduct assessed in the context of his overall life hitherto, it should be
at the moment of his sentencing, when his very future hangs in the balance. The
elementary principle of weighing the good with the bad, which is basic to all the great
religions, moral philosophies, and systems of justice, was plainly part of what
Congress had in mind when it directed courts to consider, as a necessary sentencing
factor, *the history and characteristics of the defendant’.” United States v. Adelson,
441 F.Supp.2d 506 (S.D.N.Y. 2006).

As to his individual characteristics and history, Ghanem has lost his father who
was the primary means of financial support for this family at the age of sixteen.

Two years later, Ghanem migrated to the United States and put himself through

school. At the age of twenty four, he started his own business in Texas.

 

 
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Throughout his work history, Ghanem has been hard-working and self-employed
person who started and developed over seventeen different companies.

Ghanem did not only participate in the business of arms sales while in Libya.
From 2012-15, Ghanem was appointed by the Prime Minister to be a member of an
internal “core” groups to advise the Libyan Government on how to combat and
destroy ISIS.

In 2015, two United States business men met in a restaurant in Tripoli
discussing plans to visit various parts of the country to collect information and
exemplars of weapons being used by ISIS. Ghanem obtained their business cards
and contact information. He was unable to warn them about the dangers of
engaging in this type of discussion in public while they were in Tripoli, but
forwarded this warning to them in the United States.

Later that year, their employer contacted Ghanem because they had been
arrested in Libya. Using his connections in Libya and the United States Embassy in
Tunisia, Ghanem arranged for the two men to be release unharmed. Through his
actions, Ghanem saved the lives of both of these United States business men.

Ghanem’s goodwill was not just spread throughout Libya, In 2006 in the Anbar
Provence of Iraq, pro-Al Qaida Sunni fighters were attacking United States forces
there and inflicting heavy casualties. Ghanem put a senior Iraqi Sunni tribesman

who he knew in contact with United States military personnel to facilitate a dialogue

 

 

 
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and a proposal for fair treatment of Sunni’s in the area in exchange for a ceasefire and
peace in the area. United States military personnel were not prepared to begin this
dialogue and the violence continued for almost one year until General David Petraeus
put into effect the original proposal Ghanem sought to initiate originally. Many
lives would have been saved had United States accepted Ghanem’s original proposal
and entered into the dialogue one year earlier.

Ghanem also met with Iraqi Prime Minister Malachi and assisted him in Iraq’s
fight against ISIS. He further assisted opening the communication channels
between Iraq and the government of Jordan.

Finally, Ghanem along with former Delta Force member Norman Hooten
helped King Abdullah of Jordan open a military training facility in Jordan. This
military facility trained Jordanian and military personnel from other foreign
countries, all consistent with United States military interests.

As part of evaluating a defendant’s individual characteristics, a court may
consider the impact incarceration would have on his family members. United States
v. Schroeder, 536 F.3d 746, 756 (7" Cir. 2008). In this case, Ghanem has three
| young children who are all in school and a wife who prior to his incarceration relied
upon him for financial and emotional support. Ghanem’s incarceration not only cuts

off their line of financial support, but also leaves a void in his children’s lives as they

are without a father to guide them through their formative years as young adults.

 

 
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The individual characteristics of the defendant, and the impact incarceration
would have upon Ghanem and his family warrants a 135 month sentence in this case.
Seriousness Of The Offense And The Need To Provide Just Punishment
Pursuant to 18 U.S.C. §3553(a)(2)(A), this Court must consider the need for
the sentence imposed to reflect the seriousness of the offense, to promote respect for
the law, and to provide just punishment. A “just punishment” is one that fits the
crime committed. Simon v. United States, 361 F.Supp.2d 35, 43 (E.D.N.Y. 2005).
The punishment imposed should not be unreasonablyharsh under all of the
circumstances of the case. United States v. Wilson, 350 F.Supp.2d 910 (D. Utah
2005).
In this case,the nature and circumstances of Ghanem’s actions outlined above
show that a sentenceat the low end of the Guideline range or 135 months would be a
just punishment which fits the offense at issue here.It should be noted that the
imposition of a 25 year sentence would be harsh considering that such a sentence
constitutes approximately twice the amount of the high end of the recommended
Guideline sentencing range.

Adequate Deterrence To Criminal Conduct and Protection For The Public
From Further Crimes

This Court also must consider the need for the sentence to afford adequate
deterrence to criminal conduct and the need for the sentence to protect the public

from further crimes of the defendant.See, 18 U.S.C. §§ 3553(a)(2)(B) and (C).

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Whether this Court chooses the applicable Guideline range with a low end sentence
of 135 months or the 25 year mandatory minimum sentence, Ghanem will be
punished severely for his actions in this case. In light of the fact that no
surface-to-air missiles were ever purchased, sold, imported, exported or used, either
of these sentences is a harsh punishmentand will provide a deterrent effect upon
Ghanem.

If this Court imposes a sentence at the low end of the guideline or 135 months,
Ghanem will be in his early 60’s when he is eligible to be released from prison. If
this Court imposes the 25 year mandatory minimum sentence, Ghanem will be
seventy five years old when he is eligible to be released from prison. In all
likelihood, the imposition of a 25 years sentence will amount to a death sentence for
Ghanem. Because of this fragile physical condition and terrible current health,
Ghanem probably will not survive 25 years in custody.Assuming he 1s able survive a
lengthy prison sentence, Ghanem will be at least in his early 60’s if he is sentenced to
135 months or in his mid-70’s if he is sentenced to 25 years when he Is released from
prison, an age when the chances of recidivism is low for most individuals.

In addition, the convictions in this case will make it known to the international
arms community that he is not a credible partner with whom to do this type of
business. Per the evidence presented at trial, for over five years, Ghanem solicited
others for the sale of surface-to-air missiles without being able to consummate one

deal during this time. Per his history in the business of buying or selling surface-to-

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air missiles, Ghanem has proven to be a poor negotiator and facilitator of these types
| of deals to show that the risk of future conduct in this area is low.

For these reasons as well, the Court should impose 135 monthsentence in this
case.

Educational or Vocational Training And Medical Care For Defendant

Pursuant to 18 U.S.C. §3553(a)(2)D), this Court must consider the need for the
sentence to provide the defendant with needed educational or vocational training,
medical care, or other correctional treatment in the most effective manner.Ghanem
has significant health issues that will need to be addressed while incarcerated
including high cholesterol, blood pressure, diabetes, neuropathy, back pain, sciatic
nerve pain, sleep apnea, skin problems, major dental problems and vitamin
deficiencies. He takes over fourteen medications per day to address these issues.
This Court will need to recommend a prison facility that is equipped to address
Ghanem’s medical issues.

Ghanem also has a history of alcohol abuse and depression. Ghanem seeks to
participate in an alcohol abuse program while at the Bureau of Prisons and asks this
Court to recommend that he participate in the alcohol abuse programs available to
prisoners when they have 30 months remaining to serve on their sentence.

Ghanem respectfully requests this Court to consider these medical and

psychological needs when sentencing him in this case and to recommend he

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participate in the Bureau of Prison’s special alcohol/drug program for prisoners when
he has 30 months remaining to serve on his sentence.

Pertinent Policy Statements

Pursuant to 18 U.S.C. §3553(a)(5), this Court must consider any pertinent
policy statement in effect on the date of sentencing. There are no other pertinent
policy statements other than the ones noted above that are applicable to this case.

Avoid Sentencing Disparities

Pursuant to 18 U.S.C. §3553(a)(6), this Court must structure a sentence to
avoid unwarranted sentencing disparities among defendants. There is no issue of
sentencing disparity among defendants in this case.

Restitution

Finally, this Court must consider the need to provide restitution to any victims
of the offense. See, 18 U.S.C. §3553(a)(7). There is no issue of restitution owed
to any victim in this case.

CONCLUSION

For the above reasons, this Court should find the advisory sentencing guideline
range applicable to this case is135-168 months. After considering the sentencing
factorsin 18 U.S.C. §3553(a) as set forth above and the other sentencing motion filed
herein, Ghanem asks this Court to strike the mandatory minimum sentence of 25

years and impose a sentence of 135 months in custody with a recommendation that he

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be allowed to participate in the Bureau of Prisons alcohol/drug program when he has

30 months remaining on his time to serve in custody. Finally, Ghanem requests this

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4 || Gourt to recommend the Bureau of Prisons place him in a federal facility near

Southern California.

 

7 || Dated:April 15, 2019 Respectfully Submitted,

8 /s! MICHAEL 8. EVANS

9 MICHAEL 8. EVANS
H. DEAN STEWARD

ie Attorney for Defendant

7 RAMI GHANEM

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